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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


  ABIGAIL STARR and LAUREN SNIDER, on
  behalf of themselves and all others similarly
  situated,

                                Plaintiffs,               Case No. 20-cv-00488-LEW

                        v.

  MOWI ASA; MOWI USA, LLC; and
  MOWI DUCKTRAP, LLC,

                                Defendants.



  CONSENT MOTION TO STAY PENDING FINAL APPROVAL OF SETTLEMENT


       Plaintiffs Abigail Starr and Lauren Snider (collectively, “Plaintiffs”) respectfully ask this

Court to stay this case pending a final determination by the U.S. District Court for the Southern

District of New York regarding whether a class action settlement agreement in Neversink General

Store v. Mowi USA, LLC, No. 1:20-cv-09293 (S.D.N.Y.) (“Neversink Action”) should be finally

approved.

       On March 26, 2021, Defendants Mowi ASA; Mowi USA, LLC; and Mowi Ducktrap, LLC

(collectively, “Defendants”) filed a motion to dismiss or stay Plaintiffs’ case (ECF No. 21) in light

of a proposed class action settlement in the Neversink Action. Plaintiffs continue to oppose

dismissal of the instant case for the reasons set forth in Plaintiffs’ opposition to Defendants’ motion

to dismiss. (ECF No. 22)

       Nevertheless, in light of the Neversink court’s May 14, 2021 Order Granting Preliminary

Approval of Settlement (ECF No. 26-1), which temporarily enjoins potential class members (such

as Plaintiffs) from maintaining actions against Defendants concerning the claims at issue, Plaintiffs


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respectfully request that this Court stay this case pending a decision from the Neversink court

regarding final approval of the proposed Neversink class action settlement. Plaintiffs further

request that the Court order the parties to file a status report within seven days after the court issues

an order on final approval in the Neversink matter. Plaintiffs have obtained Defendants’ consent

to this motion.



DATED: June 1, 2021

                                                        RICHMAN LAW & POLICY

                                                  BY: /s/ Kim Richman

                                                        Kim Richman (pro hac vice)
                                                        Jay Shooster (pro hac vice)
                                                        Margaret Sun (pro hac vice)
                                                        1 Bridge Street, Suite 83
                                                        Irvington, NY 10533
                                                        (718) 705-4579 (phone)
                                                        (718) 228-8522 (fax)
                                                        krichman@richmanlawpolicy.com
                                                        jshooster@richmanlawpolicy.com
                                                        msun@richmanlawpolicy.com

                                                        PETRUCELLI, MARTIN & HADDOW
                                                        LLP

                                                        James B. Haddow (Bar No. 003340)
                                                        Two Monument Square, Suite 900
                                                        Post Office Box 17555
                                                        Portland, Maine 04112-8555
                                                        (207) 775-0200 (phone)
                                                        (207) 775-2360 (fax)
                                                        jhaddow@pmhlegal.com

                                                        Counsel for Plaintiff Starr, Plaintiff Snider,
                                                        and Proposed Class




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